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     1   Curtis G. Berkey (CA State Bar No. 195485)
                                                                     FILED
         BERKEY WILLIAMS LLP
 2
         2030 Addison Street, Suite 410, Berkeley, CA 94704
 3       Tel: 510/548-7070; Fax: 510/548-7080
         E-mail: cberkey@berkeywilliams.com
 4

 5       Attorney for Plaintiff-Intervenor,
         Ramona Band of Cahuilla
 6

 7

 8                                  UNITED STATES DISTRICT COURT
 9
                        FOR THE SOUTHERN DISTRICT OF CALIFORNIA

10
11
         UNITED STATES OF AMERICA,                                          ~B
                                                    CIVIL NO.: 51-CV-0124 - PC-

12                     Plaintiff,                  NOTICE OF TECHNICAL FAILURE
13       RAMONA BAND OF CAHUILLA,
14
         CAHUILLA BAND OF INDIANS,                 Date: No Hearing Required
                                                   Time: No Hearing Required
15                     Plaintiffs-Intervenors,     Dept.: 2D
16       vs.
                                                   Hon. Gonzalo P. Curiel
17       FALLBROOKPUBLICUTILITY
         DISTRICT, et al.,                         ORAL ARGUMENT NOT REQUIRED
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19
                      Defendants.

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                                                                   CIVIL NO.: 51-CV-1247-GPC-RB
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                Pursuant to Section 2(m) of the Electronic Case Filing Administrative Policies and
     2
         Procedures Manual for the United States District Court for the Southern District of
     3

     4   California, Plaintiff-Intervenor the Ramona Band of Cahuilla ("Ramona Band") hereby

     5   gives notice that it was unable to file the attached Joint Motion to Extend Stay and
     6
         Declaration of Service on January 6, 2020, the day the stay of litigation expired because
 7
         of a technical failure.
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 9              On January 6, 2020, Plaintiff-Intervenor the Ramona Band ofCahuilla, through its
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         attorneys Berkey Williams LLP, attempted to file the Joint Motion to Extend Stay and
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         Declaration of Service through the Court's CM/ECF website. Due to a technical failure,
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13       the filing could not be accomplished electronically. On January 7, a clerk in the Court's
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         CM/ECF office instructed Plaintiff-Intervenor to file paper copies of the Joint Motion to
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         Extend Stay and Declaration of Service along with a Notice of Technical Failure with the
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17       Clerk's office the same day via courier. The CM/ECF Clerk stated that he would advise

18       the Clerk's office to accept the documents for filing. Plaintiff-Intervenor the Ramona
19
         Band ofCahuilla respectfully requests that the Joint Motion to Extend Stay be treated as
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         filed on January 6, 2020.
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22       Date: January 7, 2020                    Respectfully submitted,
23
                                                  BERKEY WILLIAMS LLP
24
                                                  By: ls/Curtis G. Berkey
25
                                                     Curtis G. Berkey
26                                                   2030 Addison Street, Suite 410
                                                     Berkeley, California 94704
27
                                                     Tel: 510/548-7070; Fax: 510/548-7080
28                                                   E-mail: cberkey@berkeywilliams.com
                                                     Attorney for Plaintiff-Intervenor,
                                                     Ramona Band of Cahuilla

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                                                                         CIVILNO.: 51-CV-1247-GPC-RB
